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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

JANE DOE,

      Plaintiff,

v.                                                   Case No: 8:21-cv-1245-CEH-CPT

NEW COLLEGE OF FLORIDA and
NEW COLLEGE OF FLORIDA
BOARD OF TRUSTEES,

      Defendants.



                            ORDER TO SHOW CAUSE

      This cause is before the Court sua sponte. Plaintiff initiated this action in state

court under the pseudonym “Jane Doe.” Doc. 11. It appears that Plaintiff filed her

claims anonymously because of the nature of the allegations of sexual assault. On May

21, 2021, Defendant removed the case to this Court. Doc. 5. Federal Rule of Civil

Procedure 10(a) requires that “every pleading” in federal court “must name all the

parties.” Fed. R. Civ. P. 10(a). “The ultimate test for permitting a plaintiff to proceed

anonymously is whether the plaintiff has a substantial privacy right which outweighs

the customary and constitutionally-embedded presumption of openness in judicial

proceedings.” Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992) (citation and internal

quotation marks omitted). Review of the docket reveals Plaintiff has not sought leave
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to proceed anonymously.1 Because Plaintiff’s pleadings do not comply with Fed. R.

Civ. P. 10(a) and Plaintiff has not sought leave to proceed under a pseudonym, it is

hereby

       ORDERED:

       1.     Plaintiff shall show cause by a written response filed within 14 days as to

why her claims should not be dismissed for failing to comply with Federal Rule of

Civil Procedure 10(a). Failure to respond within the time permitted will result in this

action be dismissed, without prejudice and without further notice.

       2.     To the extent Plaintiff intends to file a motion to proceed anonymously,

such motion shall be filed within 14 days of this Order and must comply with the

requirements of Local Rule 3.01.

       DONE and ORDERED in Tampa, Florida on August 23, 2022.




Copies furnished to:
Counsel of Record
Unrepresented Parties




1
  All pleadings from state court should have been filed in this Court with the notice of removal.
See 28 U.S.C. § 1446(a). Defendants were ordered to file all process, pleadings and orders
from the state court action. Doc. 10.


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